           Case 21-30720-sgj11 Doc 1 Filed 04/20/21                                                Entered 04/20/21 12:40:24           Page 1 of 20

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 Northern District of Texas
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2IILFLDO)RUP
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                                  

,IPRUHVSDFHLVQHHGHGDWWDFKDVHSDUDWHVKHHWWRWKLVIRUP2QWKHWRSRIDQ\DGGLWLRQDOSDJHVZULWHWKHGHEWRU¶VQDPHDQGWKHFDVH
QXPEHU LINQRZQ )RUPRUHLQIRUPDWLRQDVHSDUDWHGRFXPHQWInstructions for Bankruptcy Forms for Non-Individuals,LVDYDLODEOH




    'HEWRU¶VQDPH                         Alamo Fresh Payroll, LLC
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                                             2338 N. Loop 1604 W.
                                             Suite 350
                                             
                                             San Antonio TX 78248                                                 




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            Case 21-30720-sgj11 Doc 1 Filed 04/20/21                                      Entered 04/20/21 12:40:24                     Page 2 of 20

'HEWRU        Alamo Fresh Payroll, LLC
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                                                                           ([FKDQJH$FWRI)LOHWKHAttachment to Voluntary Petition for Non-Individuals Filing
                                                                           for Bankruptcy under Chapter 11 2IILFLDO)RUP$ ZLWKWKLVIRUP

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            Case 21-30720-sgj11 Doc 1 Filed 04/20/21                           Entered 04/20/21 12:40:24                    Page 3 of 20

Debtor          Alamo Fresh Payroll, LLC
                _______________________________________________________                      Case number (if known)_____________________________________
                Name



 9.    Were prior bankruptcy cases        ■ No
                                          
       filed by or against the debtor
       within the last 8 years?            Yes.    District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY
       If more than 2 cases, attach a
       separate list.                               District _______________________ When _______________ Case number _________________________
                                                                                          MM / DD / YYYY

 10.   Are any bankruptcy cases            No
       pending or being filed by a
       business partner or an             ■ Yes.
                                                          See Attached
                                                    Debtor _____________________________________________ Relationship _________________________
       affiliate of the debtor?                     District _____________________________________________ When               __________________
       List all cases. If more than 1,                                                                                        MM / DD / YYYY
       attach a separate list.                      Case number, if known ________________________________



 11.   Why is the case filed in this      Check all that apply:
       district?
                                          ■ Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days
                                          
                                              immediately preceding the date of this petition or for a longer part of such 180 days than in any other
                                              district.

                                           A bankruptcy case concerning debtor’s affiliate, general partner, or partnership is pending in this district.

 12.   Does the debtor own or have        ■ No
                                          
       possession of any real              Yes. Answer below for each property that needs immediate attention. Attach additional sheets if needed.
       property or personal property
       that needs immediate                        Why does the property need immediate attention? (Check all that apply.)
       attention?
                                                      It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                                       What is the hazard? _____________________________________________________________________

                                                      It needs to be physically secured or protected from the weather.

                                                      It includes perishable goods or assets that could quickly deteriorate or lose value without
                                                       attention (for example, livestock, seasonal goods, meat, dairy, produce, or securities-related
                                                       assets or other options).

                                                      Other _______________________________________________________________________________



                                                   Where is the property?




                                                   Is the property insured?

                                                      No
                                                      Yes. Insurance agency ____________________________________________________________________

                                                            Contact name     ____________________________________________________________________

                                                            Phone            ________________________________




               Statistical and administrative information




 Official Form 201                            Voluntary Petition for Non-Individuals Filing for Bankruptcy                                page 3
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'HEWRU       Alamo Fresh Payroll, LLC
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     DYDLODEOHIXQGV                     ■
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             Request for Relief, Declaration, and Signatures


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                                                      Chief Restructuring Officer                             




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            Case 21-30720-sgj11 Doc 1 Filed 04/20/21                             Entered 04/20/21 12:40:24                Page 5 of 20

'HEWRU        Alamo Fresh Payroll, LLC
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                                              Jason S. Brookner
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                                              1601 Elm St., Suite 4600
                                              Dallas TX 75201

                                             $GGUHVV

                                              214-954-4135
                                             BBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBBB                        jbrookner@grayreed.com
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              Case 21-30720-sgj11 Doc 1 Filed 04/20/21                              Entered 04/20/21 12:40:24         Page 6 of 20
Fill in this information to identify the case:

Debtor name _Alamo Fresh Payroll, LLC _____________________________

United States Bankruptcy Court for the: Northern            District of     Texas
                                                                          (State)

Case number (If known):
                                                                                                                            Check if this is an
                                                                                                                           amended filing


                           VOLUNTARY PETITION PART 10 ATTACHMENT
  Are any bankruptcy cases pending or being filed by a business partner or an affiliate of the debtor?


                          DEBTOR                        RELATIONSHIP                  DISTRICT              WHEN          CASE NUMBER



                                                                                                                              TBD
       Buffets LLC                                         Affiliate            Northern District of TX   4/20/2021
  1


       Hometown Buffet, Inc.                               Affiliate            Northern District of TX   4/20/2021           TBD
  2


       OCB Restaurant Company, LLC                         Affiliate            Northern District of TX   4/20/2021           TBD
  3


       OCB Purchasing, Co.                                 Affiliate            Northern District of TX   4/20/2021           TBD
  4


       Ryan’s Restaurant Group, LLC                        Affiliate            Northern District of TX   4/20/2021           TBD
  5


       Fire Mountain Restaurants, LLC                      Affiliate            Northern District of TX   4/20/2021           TBD
  6


       Tahoe Joe’s Inc.                                    Affiliate            Northern District of TX   4/20/2021           TBD
  7

                                                                                                                              TBD
       Alamo Ovation, LLC                                  Affiliate            Northern District of TX   4/20/2021
  8

                                                                                                                              TBD
       Fresh Acquisitions, LLC                             Affiliate            Northern District of TX   4/20/2021
  9

                                                                                                                              TBD
       FMP-Ovation Payroll, LLC                            Affiliate            Northern District of TX   4/20/2021
  10

                                                                                                                              TBD
       FMP-Fresh Payroll, LLC                              Affiliate            Northern District of TX   4/20/2021
  11

                                                                                                                              TBD
       Alamo Buffets Payroll, LLC                          Affiliate            Northern District of TX   4/20/2021
  12

                                                                                                                              TBD
       Food Management Partners, Inc.                      Affiliate            Northern District of TX   4/20/2021
  13

                                                                                                                              TBD
       FMP SA Management Group, LLC                        Affiliate            Northern District of TX   4/20/2021
  14
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                          Case 21-30720-sgj11 Doc 1 Filed 04/20/21                             Entered 04/20/21 12:40:24                Page 7 of 20
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    Chapter 11 or Chapter 9 Cases: Consolidated List of Creditors Who Have
    the 20 Largest Unsecured Claims and Are Not Insiders               
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 Fill in this information to identify the case and this filing:


                Alamo Fresh Payroll, LLC
 Debtor Name __________________________________________________________________
                                         Northern
 United States Bankruptcy Court for the: ______________________             Texas
                                                                District of __________
                                                                               (State)
 Case number (If known):    _________________________




Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                    12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit
this form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document,
and any amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the
document, and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



            Declaration and signature



         I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or
         another individual serving as a representative of the debtor in this case.

         I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:


             Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)

             Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)

             Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)

             Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)

             Schedule H: Codebtors (Official Form 206H)

             Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)

             Amended Schedule ____


         
         ✔    Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)


         
         ✔                                                List of Equity Security Holders
              Other document that requires a declaration__________________________________________________________________________________




        I declare under penalty of perjury that the foregoing is true and correct.


                    04-20-2021
        Executed on ______________                         8 /s/     Mark Shapiro
                                                               _________________________________________________________________________
                           MM / DD / YYYY                       Signature of individual signing on behalf of debtor



                                                                 Mark Shapiro
                                                                ________________________________________________________________________
                                                                Printed name

                                                                Chief Restructuring Officer
                                                                ______________________________________
                                                                Position or relationship to debtor



Official Form 202                           Declaration Under Penalty of Perjury for Non-Individual Debtors
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             Filing of Chapter 11 Case and Related Authorizations

                    5(62/9(' WKDW LQ WKH MXGJPHQW RI WKH *RYHUQLQJ 3HUVRQV RI WKH &RPSDQLHV LW LV
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             GLUHFWHGDQGHPSRZHUHGRQEHKDOIRIDQGLQWKHQDPHRIWKH&RPSDQLHVWRH[HFXWHDQGRUILOHRU
             FDXVHWREHH[HFXWHGDQGRUILOHG RUWRGLUHFWRWKHUVWRGRVRRQWKHLUEHKDOIDVSURYLGHGKHUHLQ 
             DOOQHFHVVDU\GRFXPHQWVLQFOXGLQJEXWQRWOLPLWHGWRDOOSHWLWLRQVDIILGDYLWVVFKHGXOHVPRWLRQV
             OLVWV DSSOLFDWLRQV SOHDGLQJV DQG RWKHU SDSHUV DQG LQ WKDW FRQQHFWLRQ WR HPSOR\ DQG UHWDLQ DOO
             DVVLVWDQFHE\OHJDOFRXQVHODFFRXQWDQWVRURWKHUSURIHVVLRQDOVDQGWRWDNHDQ\DQGDOORWKHUDFWLRQ
             WKDW WKH\ RU DQ\ RI WKHP GHHP QHFHVVDU\ SURSHU RU GHVLUDEOH LQ FRQQHFWLRQ ZLWK WKH &DVH
             FRQWHPSODWHGKHUHE\ZLWKDYLHZWRWKHVXFFHVVIXOSURVHFXWLRQRIVXFKFDVHDQGIXUWKHU

                   5(62/9(' WKDW WKH ODZ ILUP RI *UD\ 5HHG  0F*UDZ //3  (OP 6WUHHW 6XLWH
             'DOODV7H[DVEHDQGKHUHE\LVHPSOR\HGXQGHUDJHQHUDOUHWDLQHUDVEDQNUXSWF\
             FRXQVHOWRUHSUHVHQWDQGDVVLVWWKH&RPSDQLHVDQGWKHRWKHUDIILOLDWHGGHEWRUHQWLWLHVLQWKH&DVH
             DQGIXUWKHU

                   5(62/9(' WKDW % 5LOH\ $GYLVRU\ 6HUYLFHV  0DSOH $YHQXH 6XLWH  'DOODV
             7H[DV  EH DQG KHUHE\ LV HQJDJHG XQGHU D JHQHUDO UHWDLQHU DV ILQDQFLDO DGYLVRU IRU WKH
             &RPSDQLHVDQGWKHRWKHUDIILOLDWHGGHEWRUHQWLWLHVLQWKH&DVHDQGIXUWKHU

                     5(62/9('WKDWWKHODZILUPRI.DWWHQ0XFKLQ5RVHQPDQ//31RUWK3HDUO6WUHHW
             6XLWH'DOODV7H[DVEHDQGKHUHE\LVHPSOR\HGDVVSHFLDOFRXQVHOWRUHSUHVHQWDQG
             DVVLVWWKH&RPSDQLHVDQGWKHRWKHUDIILOLDWHGGHEWRUHQWLWLHVLQWKH&DVHDQGIXUWKHU

                    5(62/9('WKDW%0&*URXS,QFVW$YHQXH6HDWWOH:DVKLQJWRQEHDQG
             KHUHE\LVHQJDJHGXQGHUDJHQHUDOUHWDLQHUDVFODLPVDQGQRWLFLQJDJHQWIRUWKH&RPSDQLHVDQG
             WKHRWKHUDIILOLDWHGGHEWRUHQWLWLHVLQWKLV&DVHDQGIXUWKHU

                    5(62/9(' WKDW +LOFR 5HDO (VWDWH //& EH DQG KHUHE\ LV HQJDJHG XQGHU D JHQHUDO
             UHWDLQHUDVUHDOHVWDWHFRQVXOWDQWDQGDGYLVRUIRUWKH&RPSDQLHVLQWKH&DVHDQGIXUWKHU

                  5(62/9('WKDWWKH$XWKRUL]HG2IILFHUVEHDQGHDFKRIWKHPKHUHE\LVDXWKRUL]HGDQG
             HPSRZHUHGLQWKHQDPHDQGRQEHKDOIRIWKH&RPSDQLHVWRUHWDLQVXFKRWKHUSURIHVVLRQDOVDVWKH\
             GHHPDSSURSULDWHGXULQJWKHFRXUVHRIWKH&DVHDQGIXUWKHU

                   5(62/9(' WKDW DOO DFWV ODZIXOO\ GRQH RU DFWLRQV ODZIXOO\ WDNHQ E\ DQ\ $XWKRUL]HG
             2IILFHUWRVHHNUHOLHIRQEHKDOIRIWKH&RPSDQLHVXQGHUFKDSWHURIWKH%DQNUXSWF\&RGHRULQ
             FRQQHFWLRQZLWKWKH&DVHRUDQ\PDWWHUUHODWHGWKHUHWRLQFOXGLQJLQFRQQHFWLRQZLWKWKHGHEWRULQ
             SRVVHVVLRQ ILQDQFLQJEHDQGWKH\KHUHE\DUHDGRSWHGUDWLILHG FRQILUPHG DQG DSSURYHG LQ DOO
             UHVSHFWVDVWKHDFWVDQGGHHGVRIWKH&RPSDQLHV

             Delegation of Duties to the Independent Governing Person and the CRO

                    5(62/9('WKDWWRWKHIXOOHVWH[WHQWSHUPLWWHGE\DSSOLFDEOHODZDQGWKH2UJDQL]DWLRQDO
             'RFXPHQWVWKH*RYHUQLQJ3HUVRQVRWKHUWKDQWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQ FROOHFWLYHO\
             WKH³'HOHJDWLQJ*RYHUQLQJ3HUVRQV´ KHUHE\GHOHJDWHWRWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG
             WKH&52WRJHWKHUWKHDXWKRULW\WRUHYLHZDQGDFWXSRQDQ\PDWWHUDULVLQJLQRUUHODWHGWRWKH&DVH
             LQFOXGLQJ EXW QRW OLPLWHG WR WKH ILOLQJ DQG SURVHFXWLRQ WKHUHRI RU DQ\ WUDQVDFWLRQV DWWHQGDQW
             WKHUHWRLQFOXGLQJEXWQRWOLPLWHGWRDQ\RWKHUWUDQVDFWLRQVGHVFULEHGLQWKHVHUHVROXWLRQVLQZKLFK
             DFRQIOLFWH[LVWVEHWZHHQRQHRUPRUH&RPSDQLHVRQWKHRQHKDQGDQGVXFK&RPSDQLHV¶UHVSHFWLYH
             PHPEHUVVKDUHKROGHUVRUDIILOLDWHVRUWKH'HOHJDWLQJ*RYHUQLQJ3HUVRQVRUVXFK&RPSDQLHV¶

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             RIILFHUVRQWKHRWKHUKDQG HDFKD³&RQIOLFW0DWWHU´ DQGIXUWKHU

                    5(62/9(' WKDW WR WKH IXOOHVW H[WHQW SHUPLWWHG XQGHU DSSOLFDEOH ODZ WKH 'HOHJDWLQJ
             *RYHUQLQJ3HUVRQVKHUHE\GHOHJDWHWRWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52WRJHWKHU
             WKH DXWKRULW\ WR LQYHVWLJDWH DQG GHWHUPLQH LQ WKHLU EXVLQHVV MXGJPHQW DQG ZLWK WKH DGYLFH RI
             FRXQVHOZKHWKHUDQ\PDWWHUDULVLQJLQRUUHODWHGWRWKH&DVHRUDQ\WUDQVDFWLRQVDWWHQGDQWWKHUHWR
             FRQVWLWXWHVD&RQIOLFW0DWWHUDQGWKDWDQ\VXFKGHWHUPLQDWLRQVKDOOEHELQGLQJRQWKH&RPSDQLHV
             DQGIXUWKHU

                     5(62/9('WKDWLIWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52WRJHWKHUGHWHUPLQH
             ZLWKWKHDGYLFHRIFRXQVHOWKDWDSDUWLFXODU&RQIOLFW0DWWHUGRHVQRWSRVHDQ\FRQIOLFWZLWKUHVSHFW
             WR DQ\ RI WKH'HOHJDWLQJ*RYHUQLQJ3HUVRQVWKHQVXFK'HOHJDWLQJ*RYHUQLQJ3HUVRQVVKDOOEH
             SHUPLWWHGWRSDUWLFLSDWHLQDOODFWLRQVDQGGHOLEHUDWLRQVUHODWLQJWRVXFK&RQIOLFW0DWWHURQWKHVDPH
             EDVLVDVWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52DQGIXUWKHU

                     5(62/9('WKDWWRWKHIXOOHVWH[WHQWSHUPLWWHGE\DSSOLFDEOHODZDQGWKH2UJDQL]DWLRQDO
             'RFXPHQWV RI HDFK &RPSDQ\ WKH 'HOHJDWLQJ *RYHUQLQJ 3HUVRQV KHUHE\ GHOHJDWH WR WKH
             ,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52WRJHWKHUWKHDXWKRULW\WRFRQGXFWDOOLQYHVWLJDWLRQV
             DQGDQDO\VHVUHODWHGWRDQ\&RQIOLFW0DWWHUQHFHVVDU\RUGHVLUDEOHLQRUGHUWREHIXOO\DGYLVHGZLWK
             UHJDUGWRVXFK&RQIOLFW0DWWHULQWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQ¶VDQGWKH&52¶VEXVLQHVV
             MXGJPHQW ZLWK WKH DGYLFH RI FRXQVHO DQG WR DFW RQ EHKDOI RI WKH &RPSDQLHV DQG ELQG WKH
             &RPSDQLHV LQ FRQQHFWLRQ WKHUHZLWK LQFOXGLQJ WDNLQJ DQ\ DQG DOO DFWLRQV WR QHJRWLDWH UHVROYH
             DELGHE\DQGLPSOHPHQWWKHGHFLVLRQVDQGDFWLRQVRIWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH
             &52ZLWKUHVSHFWWRWKH&RQIOLFW0DWWHUZKLFKUHVSRQVLELOLWLHVPD\LQFOXGHEXWDUHQRWOLPLWHG
             WRIDFWLQYHVWLJDWLRQOHJDOUHVHDUFKEULHILQJGLVFRYHU\QHJRWLDWLRQDQGVHWWOHPHQWRIWKH&RQIOLFW
             0DWWHUDQGFRPPXQLFDWLRQVDQGPHHWLQJVZLWKSDUWLHVLQLQWHUHVWLQFRQQHFWLRQZLWKWKHIRUHJRLQJ
             DQGIXUWKHU

                    5(62/9('WKDWWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52VKDOOFRQIHUDQGFRQVXOW
             ZLWKWKH'HOHJDWLQJ*RYHUQLQJ3HUVRQVDVUHDVRQDEO\QHFHVVDU\DQGDSSURSULDWHDQGZLOOXSGDWH
             WKH'HOHJDWLQJ*RYHUQLQJ3HUVRQVDWPHHWLQJVWKHUHRIUHJDUGLQJ D DQ\UHYLHZRIDQGGHFLVLRQV
             PDGHZLWKUHJDUGWRDQ\&RQIOLFW0DWWHUDQG E DQ\LQYHVWLJDWLRQDQDO\VLVDQGGHFLVLRQVPDGH
             ZLWKUHJDUGWRDQ\&RQIOLFW0DWWHULQHDFKFDVHLQWKHPDQQHUWKDWWKH,QGHSHQGHQW*RYHUQLQJ
             3HUVRQDQG&52GHWHUPLQHWREHDSSURSULDWHDQGQHFHVVDU\WRIXOILOOWKHLUGXWLHVDQGREOLJDWLRQV
             WDNLQJLQWRWKHDFFRXQWWKHFRQILGHQWLDOLW\RIWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQ¶VDQG&52¶VZRUN
             LQFOXGLQJWKHLUFRPPXQLFDWLRQVZLWKFRXQVHODQGIXUWKHU

                    5(62/9('WKDWWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52VKDOOFRQWURODQ\DWWRUQH\
             FOLHQWZRUNSURGXFWRURWKHUSULYLOHJHEHORQJLQJWRWKH&RPSDQLHVLQFRQQHFWLRQZLWKWKH&RQIOLFW
             0DWWHUVDQGRQZKHWKHUDQ\PDWWHUFRQVWLWXWHVD&RQIOLFW0DWWHUDQGIXUWKHU

                    5(62/9('WKDWWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52DUHKHUHE\DXWKRUL]HGWR
             WDNHDOODFWLRQVWKH\GHHPQHFHVVDU\DGYLVDEOHRUDSSURSULDWHLQFRQQHFWLRQZLWKDQGLQRUGHUWR
             FDUU\ RXW FRPSO\ ZLWK DQG HIIHFWXDWH WKH SXUSRVH DQG LQWHQW RI WKH IRUHJRLQJ DQG WKH YDULRXV
             PDWWHUV FRQWHPSODWHG KHUHE\ VXEMHFW WR DQ\ OLPLWDWLRQV LPSRVHG E\ DSSOLFDEOH ODZ DQGRU DV
             H[SUHVVO\SURYLGHGIRUKHUHLQLQFOXGLQJZLWKRXWOLPLWDWLRQWRUHWDLQDSSURYHWKHFRPSHQVDWLRQ
             DQGRWKHUUHWHQWLRQWHUPVRIDQGWHUPLQDWHDGYLVRUVLQFOXGLQJOHJDOFRXQVHOILQDQFLDODGYLVRUVRU


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             RWKHUFRQVXOWDQWVRUH[SHUWVWRDGYLVHWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52 ZKLFKDOVR
             PD\EHDGYLVRUVSURYLGLQJVHUYLFHVWRWKH&RPSDQLHV DQGIXUWKHU

                    5(62/9(' WKDW WKH H[HFXWLRQ E\ DQ $XWKRUL]HG 2IILFHU RI DQ\ GRFXPHQW RU
             SHUIRUPDQFHRIDQ\DFWDXWKRUL]HGE\WKHIRUHJRLQJUHVROXWLRQVRUDQ\GRFXPHQWH[HFXWHGRUDFW
             SHUIRUPHGLQWKHDFFRPSOLVKPHQWRIDQ\DFWLRQRUDFWLRQVVRDXWKRUL]HGLQFOXGLQJEXWQRWOLPLWHG
             WRIXUQLVKLQJWRWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52DOOLQIRUPDWLRQDVWKH,QGHSHQGHQW
             *RYHUQLQJ3HUVRQPD\UHTXHVWLQDPDQQHUWKDWZLOOQRWHIIHFWDZDLYHURIDQ\DSSOLFDEOHSULYLOHJH
             DQGRWKHUZLVHLQFRRSHUDWLRQZLWKWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52LQDOOUHVSHFWV RU
             VKDOOEHFRPHXSRQGHOLYHU\ WKHHQIRUFHDEOHDQGELQGLQJDFWDQGREOLJDWLRQRIWKH&RPSDQLHVDV
             DSSOLFDEOH ZLWKRXW WKH QHFHVVLW\ RI WKH VLJQDWXUH RU DWWHVWDWLRQ RI DQ\ RWKHU RIILFHU RU
             UHSUHVHQWDWLYHRIWKH&RPSDQLHVDQGIXUWKHU

                    5(62/9(' WKDW DQ\ RIILFHUV HPSOR\HHV DGYLVRUV DQG DJHQWV RI WKH &RPSDQLHV
              FROOHFWLYHO\³$XWKRUL]HG3HUVRQV´ DFWLQJDORQHRUZLWKRQHRUPRUHRWKHU$XWKRUL]HG3HUVRQV
             EHDQGKHUHE\DUHDXWKRUL]HGHPSRZHUHGDQGGLUHFWHGWRWDNHDQ\DQGDOODFWLRQVWKDWWKH\GHHP
             QHFHVVDU\SURSHURUDGYLVDEOHFRQVLVWHQWZLWKWKHVHUHVROXWLRQVRULQRUGHUWRFDUU\RXWIXOO\WKH
             LQWHQWDQGSXUSRVHVRIWKHVHUHVROXWLRQVLQHDFKFDVHDVUHTXHVWHGE\DQGXQGHUWKHGLUHFWLRQRI
             WKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52LQFOXGLQJIXUQLVKLQJWRWKH,QGHSHQGHQW*RYHUQLQJ
             3HUVRQDQG&52DOOLQIRUPDWLRQDVWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52PD\UHTXHVWLQ
             D PDWWHU WKDW VKDOO QRW HIIHFW D ZDLYHU RI DQ\ DSSOLFDEOH SULYLOHJH DQG WR FRRSHUDWH ZLWK WKH
             ,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52LQDOOUHVSHFWVDQGIXUWKHU

                    5(62/9(' WKDW DQ\ $XWKRUL]HG 3HUVRQ DFWLQJ DORQH RU ZLWK RQH RU PRUH RWKHU VXFK
             $XWKRUL]HG 3HUVRQV EH DQG KHUHE\ LV DXWKRUL]HG HPSRZHUHG DQG GLUHFWHG WR LPSOHPHQW DQ\
             GHFLVLRQPDGHE\WKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52LQUHVSHFWRID&RQIOLFW0DWWHURQ
             EHKDOIRIWKH&RPSDQLHVDVGLUHFWHGE\WKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52provided
             WKDWWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52UHWDLQWKHULJKWWRLPSOHPHQWDQ\VXFKGHFLVLRQ
             RQEHKDOIRIWKH&RPSDQLHVRQWKHLURZQDQGIXUWKHU

                    5(62/9(' WKDW ZLWKRXW OLPLWLQJ DQ\ ULJKWV SRZHUV DQG DXWKRULWLHV GHOHJDWHG WR WKH
             ,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52E\WKHVHUHVROXWLRQVWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQ
             DQG &52 DUH IUHH WR GHWHUPLQH ZKHWKHU WKH RWKHU PDWWHUV DQG WUDQVDFWLRQV GHVFULEHG LQ WKHVH
             UHVROXWLRQVFRQVWLWXWH&RQIOLFW0DWWHUVDQGDVVXFKWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQG&52
             VKDOOEHIUHHWRDFWZLWKUHVSHFWWRVXFK&RQIOLFW0DWWHUVRQEHKDOIRIWKH&RPSDQLHVLQDFFRUGDQFH
             ZLWKWKHIRUHJRLQJGHOHJDWLRQRIULJKWVSRZHUVDQGDXWKRULWLHVDQGUHJDUGOHVVRIZKHWKHUVXFK
             GHWHUPLQDWLRQLVPDGHRQEHIRUHRUDIWHUWKHGDWHKHUHRI

             Prepetition and Debtor-In-Possession Credit Agreement

                    5(62/9('WKDWWKHERUURZLQJE\WKH&RPSDQLHVIURP9LWD1RYD%UDQGV//&D7H[DV
             OLPLWHG OLDELOLW\ FRPSDQ\ WKH ³/HQGHU´  RI FHUWDLQ SUHSHWLWLRQ DQG SRVWSHWLWLRQ ORDQV LQ WKH
             DJJUHJDWH DPRXQW RI XS WR 7+5(( 0,//,21 ),9( +81'5(' 7+286$1' $1' 12
             81,7('67$7(6'2//$56   WKH³/RDQ´ VXFKERUURZLQJWREHHYLGHQFHGE\
             D3URPLVVRU\1RWHH[HFXWHGLQWKHRULJLQDOSULQFLSDODPRXQWRI WKH³1RWH´ PDGH
             MRLQWO\DQGVHYHUDOO\E\WKH&RPSDQLHVDQGSD\DEOHWRWKHRUGHURIWKH/HQGHULVKHUHE\DSSURYHG
             E\WKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52DQGIXUWKHU


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                    5(62/9('WKDWWKHIRUPDQGFRQWHQWRIWKH3UHSHWLWLRQDQG'HEWRU,Q3RVVHVVLRQ&UHGLW
             $JUHHPHQW WKH³/RDQ$JUHHPHQW´ WREHHQWHUHGLQWRE\WKH&RPSDQLHVDQGWKH/HQGHULQWKH
             IRUPRIGUDIWVH[KLELWHGWRWKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52ZLWKVXFKFKDQJHVDV
             DUHKHUHLQDIWHUDXWKRUL]HGDQGWKHWUDQVDFWLRQVFRQWHPSODWHGWKHUHE\DUHKHUHE\DSSURYHGE\WKH
             ,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52DQGIXUWKHU

                     5(62/9('WKDWWKHIRUPDQGFRQWHQWRIWKHIROORZLQJGRFXPHQWV

                                 D   7KH1RWHDQG

                                 E   7KH 3OHGJH DQG 6HFXULW\ $JUHHPHQW WKH ³%XIIHWV 6HFXULW\ $JUHHPHQW´ 
                                      H[HFXWHGE\%XIIHWVLQIDYRURI/HQGHUSXUVXDQWWRZKLFK%XIIHWVJUDQWVWR
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                                        RI%XIIHWV¶FRPPRQVWRFNYRWLQJULJKWVDQGRZQHUVKLSULJKWVLQRU
                                      UHODWHGWR+RPH7RZQ%XIIHWDQG

                                 F   7KH 3OHGJH DQG 6HFXULW\ $JUHHPHQW WKH ³+RPH7RZQ 6HFXULW\
                                      $JUHHPHQW´ H[HFXWHGE\+RPH7RZQ%XIIHWLQIDYRURI/HQGHUSXUVXDQW
                                      WRZKLFK+RPH7RZQ%XIIHWJUDQWVWR/HQGHUDVHFXULW\LQWHUHVWLQDPRQJ
                                      RWKHUWKLQJVRQHKXQGUHGSHUFHQW  RI+RPH7RZQ%XIIHW¶VFRPPRQ
                                      VWRFNYRWLQJULJKWVDQGRZQHUVKLSULJKWVLQRUUHODWHGWR7DKRH-RH

             DV H[KLELWHG WR WKH ,QGHSHQGHQW *RYHUQLQJ 3HUVRQ DQG WKH &52 DQG ZLWK VXFK FKDQJHV DV DUH
             KHUHLQDIWHUDXWKRUL]HGDUHKHUHE\DSSURYHGE\WKH,QGHSHQGHQW*RYHUQLQJ3HUVRQDQGWKH&52
              WKH 1RWH WKH %XIIHWV 6HFXULW\ $JUHHPHQW DQG WKH +RPH7RZQ 6HFXULW\ $JUHHPHQW DUH
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                    5(62/9('WKDWDQ\$XWKRUL]HG2IILFHULQFOXGLQJEXWQRWOLPLWHGWRWKH&52LVKHUHE\
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             DQG WKH /RDQ 'RFXPHQWV WR ZKLFK DQ\ RI WKH &RPSDQLHV LV D SDUW\ LQ VXEVWDQWLDOO\ WKH IRUP
             DSSURYHGE\WKHVHUHVROXWLRQVZLWKVXFKDPHQGPHQWVRUFKDQJHVWKHUHWRDVVXFKSHUVRQVRDFWLQJ
             PD\DSSURYHVXFKDSSURYDOWREHFRQFOXVLYHO\HYLGHQFHGE\VXFKSHUVRQ¶VH[HFXWLRQDQGGHOLYHU\
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             QDPHRIVXFK&RPSDQ\ZLWKWKH/HQGHUSULRUWRWKHDGRSWLRQRIWKHVHUHVROXWLRQVLQFOXGLQJEXW
             QRWOLPLWHGWRWKHQHJRWLDWLRQRIWKH/RDQ$JUHHPHQWDQGWKH/RDQ'RFXPHQWVDUHKHUHE\UDWLILHG
             FRQILUPHGDQGDSSURYHGLQDOOUHVSHFWVIRUDOOSXUSRVHVDQGIXUWKHU

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             $JUHHPHQWDQGWKH/RDQ'RFXPHQWVVKDOOFRQWLQXHLQIXOOIRUFHDQGHIIHFWXQWLOZULWWHQQRWLFHRI
             UHYRFDWLRQKDVEHHQJLYHQWRDQGUHFHLYHGE\WKH/HQGHU

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             $XWKRUL]HG2IILFHUVDQGH[FHSWDVSURYLGHGDERYHZLWKUHVSHFWWR&RQIOLFW0DWWHUVHDFKRIWKH

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             $XWKRUL]HG 2IILFHUV DQG WKHLU GHVLJQHHV DQG GHOHJDWHV  EH DQG KHUHE\ LV DXWKRUL]HG DQG
             HPSRZHUHG LQ WKH QDPH RI DQG RQ EHKDOI RI WKH &RPSDQ\ RU &RPSDQLHV IRU ZKLFK VXFK
             $XWKRUL]HG2IILFHUVDUHDXWKRUL]HGWRDFWWRWDNHRUFDXVHWREHWDNHQDQ\DQGDOOVXFKRWKHUDQG
             IXUWKHU DFWLRQ DQG WR H[HFXWH DFNQRZOHGJH GHOLYHU DQG ILOH DQ\ DQG DOO VXFK DJUHHPHQWV
             FHUWLILFDWHVLQVWUXPHQWVQRWLFHVDQGRWKHUGRFXPHQWVDQGWRSD\DOOH[SHQVHVLQFOXGLQJEXWQRW
             OLPLWHGWRILOLQJIHHVLQWKHFDVHDVLQVXFK$XWKRUL]HG2IILFHU¶VMXGJPHQWVKDOOEHQHFHVVDU\
             DGYLVDEOHRUGHVLUDEOHLQRUGHUWRIXOO\FDUU\RXWWKHLQWHQWDQGDFFRPSOLVKWKHSXUSRVHVRIWKH
             UHVROXWLRQVDGRSWHGKHUHLQDQGIXUWKHU

                    5(62/9(' WKDW HDFK &RPSDQ\ DQG HDFK *RYHUQLQJ 3HUVRQ WKHUHRI KDYH UHFHLYHG
             VXIILFLHQW QRWLFH RI WKH DFWLRQV DQG WUDQVDFWLRQV UHODWLQJ WR WKH PDWWHUV FRQWHPSODWHG E\ WKH
             IRUHJRLQJ UHVROXWLRQV DV PD\ EH UHTXLUHG E\ WKH 2UJDQL]DWLRQDO 'RFXPHQWV RI WKH DSSOLFDEOH
             &RPSDQ\RUKHUHE\ZDLYHVDQ\ULJKWWRKDYHUHFHLYHGVXFKQRWLFHDQGIXUWKHU

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             E\WKHIRUHJRLQJUHVROXWLRQVGRQHLQWKHQDPHRIDQGRQEHKDOIRIHDFK&RPSDQ\RU&RPSDQLHV
             ZKLFK DFWV ZRXOG KDYH EHHQ DSSURYHG E\ WKH IRUHJRLQJ UHVROXWLRQV H[FHSW WKDW VXFK DFWV ZHUH
             WDNHQEHIRUHWKHDGRSWLRQRIWKHVHUHVROXWLRQVDUHKHUHE\LQDOOUHVSHFWVDSSURYHGDQGUDWLILHGDV
             WKHWUXHDFWVDQGGHHGVRIWKHDSSOLFDEOH&RPSDQ\RU&RPSDQLHVZLWKWKHVDPHIRUFHDQGHIIHFWDV
             LIHDFKVXFKDFWWUDQVDFWLRQDJUHHPHQWRUFHUWLILFDWHKDVEHHQVSHFLILFDOO\DXWKRUL]HGLQDGYDQFH
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             DQGKHUHE\LVDXWKRUL]HGDQGHPSRZHUHGWRWDNHDOODFWLRQVRUWRQRWWDNHDQ\DFWLRQLQWKHQDPH
             RI WKH &RPSDQ\ RU &RPSDQLHV IRU ZKLFK VXFK $XWKRUL]HG 2IILFHUV DUH DXWKRUL]HG WR DFW ZLWK
             UHVSHFW WR WKHWUDQVDFWLRQVFRQWHPSODWHG E\ WKHVH UHVROXWLRQVLQHDFKFDVHDVVXFK$XWKRUL]HG
             2IILFHU VKDOO GHHP QHFHVVDU\ RU GHVLUDEOH LQ VXFK $XWKRUL]HG 2IILFHU¶V UHDVRQDEOH EXVLQHVV
             MXGJPHQW DV PD\ EH QHFHVVDU\ RU FRQYHQLHQW WR HIIHFWXDWH WKH SXUSRVHV RI WKH WUDQVDFWLRQV
             FRQWHPSODWHGKHUHLQDQGIXUWKHU

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             PRGLI\IURPWLPHWRWLPHWKHWHUPVRIDQ\GRFXPHQWVFHUWLILFDWHVLQVWUXPHQWVDJUHHPHQWVRURWKHU
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             SURGXFHRUDFFRXQWIRUPRUHWKDQRQHVXFKFRXQWHUSDUW7KHVHUHVROXWLRQVPD\EHGHOLYHUHGE\
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